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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

             Plaintiff,
                                  v.                   10-CR-188A(Sr)

CARLOS CRUZ,

           Defendant.
_____________________________________




                                DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.


                             PRELIMINARY STATEMENT

             The defendant, Carlos Cruz, is charged in count 4 of a 13 count

indictment against 23 defendants with conspiracy to possess with intent to distribute,

and to distribute, five kilograms or more of a mixture and substance containing cocaine

and a mixture and substance containing marijuana, in violation of Title 21, United

States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D), in violation of Title 21

United States Code Section 846. Dkt. #1. The defendant also faces forfeiture of

money pursuant to Title 21, United States Code, Sections 853(a)(1), 853(a)(2), and

853(p). Dkt. #1.
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             The defendant filed an omnibus motion. Dkt. #333. The government filed

a response and request for reciprocal discovery. Dkt. #379. Defendant’s motion for

suppression of statements and evidence obtained pursuant to Title III intercept orders

will be addressed in a separate report, recommendation and order.



                             DISCUSSION AND ANALYSIS

Discovery and Inspection

             The government responds that it is in compliance with its obligations

pursuant to Rule 16 and declares its intention to disclose any information subject to

Rule 16 as it is discovered. Dkt. #379, pp.1-4. In accordance with Rule 12(b) of the

Federal Rules of Criminal Procedure, the government notifies the defendant of its

intention to introduce any evidence disclosed to defendant at trial. Dkt. #379, p.3.

However, the government notes that many of defendant’s requests are beyond the

scope of pre-trial discovery. Dkt. #386, pp.3-23.



Defendant’s Statements

             In reliance upon the government’s representation that it has disclosed

defendants’ statements to law enforcement personnel pursuant to Rule 16(a)(1)(A) of

the Federal Rules of Criminal Procedure, this aspect of defendant’s motion is denied as

moot.




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Reports of Examinations or Tests & Expert Witnesses

              In reliance upon the government’s representation that it will disclose all

materials that are discoverable under Rule 16(a)(1)(F) of the Federal Rules of Criminal

Procedure and that it will comply with Rule 16(a)(1)(G) of the Federal Rules of Criminal

Procedure, as well as Rules 702, 703 and 705 of the Federal Rules of Evidence, and

that it will cooperate with defendant to provide the chemists’ credentials and methods in

the event that the defendant declines to stipulate as to the reports regarding the

controlled substances, as well as the qualifications of government law enforcement

experts relating to vague/coded drug references and firearms, this aspect of

defendant’s motion is denied as moot.



Documents and Tangible Objects

              In reliance upon the government’s representation that it has complied with

Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure, and that any additional

items will be provided voluntarily as they are identified, defendant’s motion for

disclosure of documents and tangible objects is denied as moot.



Defendant’s Criminal Record

              In reliance upon the government’s representation that it has provided

defendant with a copy of his criminal record and is in compliance with its obligations

pursuant to Rule 16 of the Rules of Criminal Procedure, this aspect of defendants

motion is denied as moot. Defendant’s request for disclosure of prior bad acts is

addressed below, pursuant to his request for disclosure pursuant to Rule 404(b).



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Search Warrant Application

              In reliance upon the government’s representation at oral argument that it

will disclose affidavits in support of search warrants relevant to this matter, redacted as

appropriate to preserve the identity of confidential sources, this aspect of defendant’s

motion is denied as moot.



Wiretap Information

              Defendant’s request for forms used in the preparation of the

eavesdropping warrant application, progress reports, and minimization instructions are

denied in accordance with the reasoning set forth in United States v. Chimera, 201

F.R.D. 72 (W.D.N.Y. 2001).



Law Enforcement Documents

              Defendant’s request for agent’s reports, prosecution reports, surveillance

reports, etc., is denied as beyond the scope of the government’s discovery obligations.

Rule 16(a)(2) of the Federal Rules of Criminal Procedure specifically exempts

              the discovery or inspection of reports, memoranda, or other
              internal government documents made by an attorney for the
              government or other government agent in connection with
              investigating or prosecuting the case. Nor does this rule
              authorize the discovery or inspection of statements made by
              prospective government witnesses except as provided in 18
              U.S.C. § 3500.


Government Witnesses

              As defendant has failed to demonstrate any “particularized showing of

need” for the names, addresses of each prospective government witness or any

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witness to the alleged offenses set forth in the indictment, this aspect of his motion is

denied. See United States v. Pastor, 419 F. Supp. 1318, 1320 (S.D.N.Y. 1975), aff’d

557 F.2d 930 (2d Cir. 1977).



Grand Jury Transcripts

              As defendant has proffered no basis for his request for grand jury

transcripts, this aspect of defendant’s motion is denied. See Pittsburgh Plate Glass Co

v. United States, 360 U.S. 395, 400 (1959). It is a long-established rule that “[t]he

burden. . . is on the defense to show that ‘a particularized need’ exists for the minutes

[of the grand jury] which outweighs the policy of secrecy.”



Brady, Giglio & Jencks Material

              The government acknowledges its responsibility under Brady v. Maryland,

373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and subsequent

cases. The government has also represented that it will comply with the requirements

of 18 U.S.C. § 3500 with respect to production of statements of witnesses called to

testify at trial. As a result of these representations, the defendant’s request for such

materials, i.e., Brady, Giglio and Jencks is denied, but the government is hereby

directed to comply with the Second Circuit Court of Appeals’ holding in United States v.

Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d

Cir. 2007) by making timely disclosure of those materials to the defendant.




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Personnel Files of Government Agent Witnesses

              In reliance upon the government’s representation that it is aware of its

obligation to disclose potential impeachment material from the personnel files of law

enforcement witnesses, the defendant’s request is denied as moot. The Court reminds

counsel for the government that Brady, Giglio and their progeny dictate that the

government’s obligation to disclose material favorable to the accused extends to

information that impeaches the credibility of the government’s witnesses regardless of

the witnesses’ employer. Accordingly, counsel for the government is hereby directed to

ensure that a proper request and review of the personnel files of all law enforcement

witnesses, regardless of their employer, is conducted and that all properly discoverable

information is disclosed to the defendant in a timely fashion as provided by Brady,

Giglio and their progeny.



Identity of Informants

              Disclosure of the identity or address of a confidential informant is not

required unless the informant’s testimony is shown to be material to the defense.

United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.), cert. denied, 489 U.S. 1089

(1988); see Roviaro v. United States, 353 U.S. 53, 59 (1957) (government generally is

not required to disclose identity of confidential informants). “Speculation that disclosure

of the informant’s identity will be of assistance is not sufficient to meet the defendant’s

burden; instead the district court must be satisfied, after balancing the competing

interests of the government and the defense, that the defendant’s need for disclosure

outweighs the government’s interest in shielding the informant’s identity.” United States

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v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied, 522 U.S. 976 (1997). It is not

sufficient that the informant was a participant and witness to the crime. Saa, 859 F.2d

at 1073. As defendant has failed to articulate any basis for his request for the identity

of confidential informants, this aspect of his motion is denied.



F.R.E. 403, 404(b) and 609

              The government notifies defendant that it intends to introduce at trial,

pursuant to Rule 404(b) of the Federal Rules of Evidence, all prior criminal conduct to

show proof of defendant’s motive, opportunity, intent, preparation, plan, knowledge,

identity, and absence of mistake or accident and represents that it will timely disclose

evidence within the ambit of Rules 404(b), 608(d) and 609 of the Federal Rules of

Evidence, but notes that it has no obligation to provide defendant with information that

could be used to impeach him pursuant to Rule 608, should he elect to testify. In

reliance upon the government’s representations, this aspect of defendant’s motion is

denied as moot.



F.R.E. 807

              In reliance upon the government’s representation that it has no present

intention of introducing any statement within the residual hearsay exception set forth in

Rule 807 of the Federal Rules of Evidence, and its acknowledgment of its obligations

should it determine the exception applicable, this aspect of defendant’s motion is

denied as moot.




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Summaries and Logs of Conversations

              In reliance upon the government’s representation that all information

regarding intercepted conversations, call detail, and summaries have been provided

and that any additional items will be provided voluntarily should they be discovered, this

aspect of defendant’s motion is denied as moot.



Transcripts

              In reliance upon the government’s representation that it has provided call

summaries and complete transcripts containing Spanish/English translation, as well as

the underlying recorded conversations, and that it will continue to provide transcripts as

they are completed, defendant’s request for verbatim transcripts of all conversations

relevant to the case is denied as moot.



Statements of Co-Conspirators

              Rule 16 does not encompass co-conspirator statements. United States v.

Percevault, 490 F.2d 126, 131 (2d Cir. 1974). The Jencks Act provides the exclusive

procedure for discovering statements that government witnesses – including co-

conspirators – have given to law enforcement agencies. In re United States, 834 F.2d

283, 286 (2d Cir. 1987). Rule 801(d)(2)(E) of the Federal Rules of Evidence does not

contain a required pretrial notice and therefore, there is no requirement on the part of

the government to disclose statements made by a defendant’s co-conspirator during

and in furtherance of the conspiracy. The admissibility of any such statements is best

addressed by the trial judge. United States v. Tellier, 83 F.3d 578, 580 (2d Cir.), cert.

denied, 519 U.S. 955 (1996). Accordingly, this aspect of defendant’s motion is denied.

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Identification

                 In reliance upon the government’s representation that it has and will

disclose information relating to pretrial identification procedures and has disclosed

recorded conversations and pole camera video related to this investigation, defendant’s

request for information or documentation reflecting identification of his person, voice,

handwriting, picture and/or composite sketch is denied as moot. Issues of admissibility

of testimony identifying defendant’s voice, as provided by Rule 901 of the Federal

Rules of Evidence, is best left to the trial judge.



Government Summaries

                 In reliance upon the government’s representation that it will disclose any

summaries it intends to use at trial, this aspect of defendant’s motion is denied as moot.



Voir Dire of Government Experts

                 Defendant’s motion, pursuant to Rule 104(a) of the Federal Rules of

Evidence, to voir dire government experts outside of the presence of the jury is best

addressed by the trial judge.



Exclusion of Statements from Non-testifying Witnesses

                 Defendant’s motion to exclude testimonial hearsay by non-testifying

witnesses is best addressed by the trial court judge pursuant to a motion in limine or

objection at trial.




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Preservation of Evidence

              The government is hereby directed to maintain and preserve all materials

that are known by the government to exist and that constitute potential Jencks and Rule

16, Fed.R.Crim.P. material in this case. As the Court of Appeals for the Second Circuit

admonished:

              [W]e will look with an exceedingly jaundiced eye upon future
              efforts to justify non-production of a Rule 16 or Jencks Act
              “statement” by reference to “departmental policy” or
              “established practice” or anything of the like. There simply is
              no longer any excuse for official ignorance regarding the
              mandate of the law. Where, as here, destruction is
              deliberate, sanctions will normally follow, irrespective of the
              perpetrator’s motivation, unless the government can bear
              the heavy burden of demonstrating that no prejudice
              resulted to the defendant. . . . We emphatically second the
              district court’s observation that any resulting costs in the
              form of added shelf space will be more than
              counterbalanced both by gains in the fairness of trials and
              also by the shielding of sound prosecutions from
              unnecessary obstacles to a conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976).



Joinder in Motions of Co-Defendants

              It is hereby ordered that the decision made by this Court as to each co-

defendant’s requests contained in the motions in which this defendant has standing to

join shall also be deemed to be the finding and Order of this Court as to the defendant

herein.


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Leave to Make Further Motions

              Defendant’s request for leave to make further motions is granted provided

that any additional bases for relief are based on facts or information learned by reason

of the continuation of the investigation or facts and circumstances revealed in the

government’s response to the instant motion or this Court’s Decision and Order.



Government’s Request for Reciprocal Discovery

              Since the defendant has moved pursuant to Rule 16(a)(1) of the Federal

Rules of Criminal Procedure for similar materials and information, the government is

entitled to reciprocal discovery pursuant to Rule 16(b)(1), and its request is hereby

granted. The government’s motion with respect to Rule 807 of the Federal Rules of

Evidence is denied as moot by reason of the requirements contained within Rule 807 of

the FRE wherein it is specifically stated:

              However, a statement may not be admitted under this
              exception unless the proponent of it makes known to the
              adverse party sufficiently in advance of the trial or hearing to
              provide the adverse party with a fair opportunity to prepare
              to meet it, the proponent’s intention to offer the statement
              and the particulars of it, including the name and address of
              the declarant.


              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

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Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of



Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:        Buffalo, New York
              June 15, 2012

                                            s/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge

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